   Case 1:20-cr-00029-JPJ-PMS Document 12 Filed 08/05/20 Page 1 of 3 Pageid#: 19



                                     UM TED STATES DISTRICT COURTCLERK'
                                                                      : OFFICE U ; ojsm jcycooRy
                                     WESTERN DISTRICTOFVIRGINSA                            AyAajNjjgN vy
                                                                                               gjtsn ,
 United StatesofAm erica                                 )                                  Atlz -52222
                                                         )
 V.                                                      ) CaseNo.1:20M J111             JDL     ..   LRY,CLERK
                                                         )                               BY:
 AM M IE H ALE                                           )
                              Defendant                  )                                     DEPUTY CLERK


                                ORDER SETTG G CONDITIONS OF R ELEA SE

IT ISORDERED thatthereleaseofthedefendantissubjecttothefollowingconditions:
      (1) n edefendantmustnotcommitanyoffenseinviolationoffederal,stateorlocallaw whileonrelease.
      (2) ThedefendantmustcooperateinthecollectionofaDNA sampleifthecollectionisauthorizedby42USC 14135(a)
      (3) Thedefendantmustadvisethecourtorthepretrialservicesofficeorsupervisingofficerinwritingbeforeanychange
          in addressortelephonenumber.

      (4) T'
           hedefendantmustappearincourtasrequiredand,ifconvicted,mustsurrenderasdirectedtoserveanysentence
         hnposed. n edefendmltmustnextappearatU.S.DistrictCourt,l80 W estM ahlStreet,Abingdon,VA on August
         26,2020,at10:00 a.m.

      (5) ThedefendantmustsignanAppearanceBond,ifordered.

                                    ADDITIONAL CONDITIONS OF RELEASE

          IT ISFURTHER ORDERED thatthedefendant'sreleaseissubjecttotheconditionslistedbelow;
(6) Thedefendantmust:
    (a) The defendantshallavoid contactoutside the presepceofhis/hercounselwith any alleged victimsorpotential
          wim essesregardinghis/hercase.
      (b) Thedefendantshallreportasdirectedbytheprobationofficer,shallfollow thedirectionoftheprobationofficer;shall
          promptly reportany personalstatus changesto theprobation officer:thisshallinclude hnmediately reporting any
          contactby law enforcementofficers regarding a criminalinvestigation orany additionalcriminalchargesplaced
          againstthe defendant. The defendantshallcontinue to reside athis/her currentresidence and shallnotchange
          residenceswithouttheperm ission oftheprobationofficer.
      (c) Thedefendantshallabstainfrom theexcessiveuseofalcoholoranyuseorpossessionofanycontrolled substances
         unlessprescribedby alicensed treating physician foralegitimatemedicalpurpose.
      (d) n edefendantshallnotpossessafn
                                       '-
                                        enrm orotherdangerousweaponandshallresideinaresidence9eeofsuch.
      (e) Thedefendantshallsubmittorandom routinedlugandoralcoholevaluation,testingandtreae entasdirectedbythe
         probationofficer;shallsubmittorandom pillcountsasdirectedbytheprobationofficer.
      (9 '
         fhedefendantshallnotkaveloutsidetheW estern.DistrictofVirginiawithoutfirstobtainingpermission9om the
         probation officer.
      (g) 'Ihedefendantshallsubmitto warrantlesssearch and seizure ofhis/herperson and property asdirected by the
         Probationoffkerforthepurposeofdetermineifhe/sheisincompllancewithhis/herconditionsofpretrialrelease.
      (h) 'l'
            hedefendantshallactivelyseekand/ormaintainemployment.
      (i) 'T'
            hedefendantshallnotassociatewithanyknownusers/possessors/diskibutorsormanufacturersofillegalcontrolled
         substances and shallnotbepresentin any location where illegalcontrolled substancesare being used,possessed,
         manufactured and/ordistributed,unlessapproved by the supervising officerin cooperation with law enforcement
         officers.
   Case 1:20-cr-00029-JPJ-PMS Document 12 Filed 08/05/20 Page 2 of 3 Pageid#: 20




    () Thedefendantshallrestrainanyanimalsonthepremisesofhis/herresidenceinawaysoastonotinterferewiththe
        probationofficer'saccessto thedefendant'sresidenceandto ensuretheofficer'ssafety.
    (k) Thedefendantshallsubmittomentalhealthevaluationandtreqtmentasdirectedbytheprobationofficer.
    (1) Thedefendantshallallow theprobation offkeropen communication with any treatmentagenciesorhealth care
        providersforthepurpose ofmonitoring thedefendant'scompliancewith al1treatmentrequirements;shallrevealto
        thesupervisingoffkerallhealthcareprovidersand phannacies.
    (m)Ifthedefendantpossessesapassport,he/sheshallsurrenderhis/herpassporttotheU.S.ProbationOfficetobeheld
        pending furtherorderofthecourqifthedefendantdoesnotcurrentlypossessapassport,thedefendantshallnotapply
        toobtain apassport.

                                 ADW SE OF PENALTIES AND SANCTION S
TO TH E D EFENDANT:

YO U ARE ADVISED OF TH E FOLLOW W G PENALTIES AND SAN CTIO NS:
         Violatingany oftheforegoingconditionsofreleasemayresultintheimmediateissuanceofawarrantforyourarrest
arevocation ofyourrelease,an orderofdetention,aforfeitureofany bond,andaprosecution forcontemptandcould resultin
apossibleterm ofimprisonm ent,afme,orb0th.
         W hileonrelease,ifyou commitafederalfelony offensethepunishmentisanadditionalprisonterm ofnotmoreth=
ten yearsandforafederalmisdemeanoroffensethepunishmentisan additionalprison term ofnotmorethan oneyear.This
sentencewillbeconsecutive(i.e.,inadditionto)toanyothersentenceyoureceive.
        ltisacrimepunishableby upto tenyearsinprison,and a$250.00 fine,orb0th,to:obstructacriininalinvestigation;
tamperwithawitness,victim,orinformant,retaliateorattempttoretaliateagainstawitness,victim,orinformant;orintimidate
orattempttointimidateawimess,victim,juror,informant,oroftkerofthecourt.Thepenaltiesfortampering,retaliation,or
intim idation aresignificantly moreseriousifthey involveakilling orattemptedkilling.
    '
          If,afterrelease,youknowingly failtoappearastheconditionsofreleaserèquire,orto surrenderto serveasentence,
you maybeprosecutedforfailingto appearorsurrenderand additionalpunishmentm ay beimposed.Ifyou areconvicted of:
        (1) anoffensepunishablebydeath,lifeimprisonment,orimprisonmentforaterm offifteenyearsormore,youwill
               befmednotmorethan $250.00 orimprisonedfornotmorethan 10years,orboth;
        (2) anoffensepunishableby imprisonmentforaterm offiveyearsormore,butlessthanGfteenyears,youwillbe
               fm
                'ed notmorethan $250.00 orimprisonedfornotmorethanfiveyears,orboth;                     '
        (3) anyotherfelony,youwillbefinednotmorethan$250,000orimprisonednotmorethanoneyear,orboth;
        (4) amisdemeanor,youwillbefinednotmorethan$100,000orimprisonednotmorethanoneyearorboth;
A term ofimprisonmentimposed forfailureto appearorsurrenderwillbeconsecutiveto any othersentenceyou receive. ln
addition,afailuretoappearorsurrenderm ay resultin theforfeitureofany bondposted.

                                  ACKNO W LED GG NT OF DEFEO ANT
         Iacknowledgethat1am thedefendantin thiscaseandthat1am awareoftheconditionsofrelease.1promiseto
obey a1lconditionsofrelease,toappearasdirected,andsurrenderto serveanysentence imposed.Iam awareofthepenalties
and sanctionssetforth above.


                                                               -
                                                                                             Defendant'sSignamre

                               DIRECTIONS TO ITM TED STA TES M AR SH AT,

(X)ThedefendantisORDERED releasedafterprocessing.
()'rheUnited StatesMarshalisORDERED to keepthedefendantin custody untilnotitied bythe clerk orjudgethatthe
defendanthasposted bond and/orcomplied with a1lotherconditions forrelease. Ifstillin custody,the defendantmustbe
producedbeforetheappropriatejudgeatthetimeandplacespecified.
D ate:8/5/20
Case 1:20-cr-00029-JPJ-PMS Document 12 Filed 08/05/20 Page 3 of 3 Pageid#: 21




                                           P elaM eadeSargent,United States   'strateJudge
